Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 1 of 104 Page ID #:195




   1   Nicholas P. Roxborough (Cal Bar No. 113540)
       npr@rpnalaw.com
   2   Joseph C. Gjonola (Cal Bar No. 241955)
   3   jcg@rpnalaw.com
       David R. Ginsburg (Cal Bar No. 210900)
   4   drg@rpnalaw.com
   5   ROXBOROUGH, POMERANCE, NYE & ADREANI, LLP
       5820 Canoga Avenue, Suite 250
   6   Woodland Hills, California 91367
   7   Tel: (818) 992-9999; Fax: (818) 992-9991

   8
       Attorneys for Defendant and Counterclaimant
   9   First Rate Staffing Corporation
  10
                            UNITED STATES DISTRICT COURT
  11
               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  12
  13   ZURICH AMERICAN INSURANCE         )      Case No. 2:17-cv-4864-CAS(KSx)
  14   COMPANY OF ILLINOIS,              )
                                         )
                   Plaintiff,            )      DECLARATION OF DAVID R.
  15                                     )      GINSBURG IN SUPPORT OF
            v.                           )
  16                                     )      FIRST RATE’S EX PARTE
  17   FIRST RATE STAFFING               )      APPLICATION FOR LEAVE TO
       CORPORATION, et al.,              )      AMEND ANSWER AND
  18                                     )
                   Defendants.           )      COUNTERCLAIM AND
  19   _________________________________ )      CONTINUE THE TRIAL
                                         )
  20   And related cross-action.         )
                                         )      COURTROOM: 8D
  21                                     )
                                         )
  22                                     )      HON. CHRISTINA A. SNYDER
       _________________________________ )
  23   _______

  24
  25
  26
  27
  28
       _____________________________________________________________________
                       SUPPORTING DECLARATION OF DAVID R. GINSBURG
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 2 of 104 Page ID #:196




   1                        DECLARATION OF DAVID GINSBURG
   2         I, David Ginsburg, declare as follows:
   3         I am an attorney at law licensed to practice in the State of California, and
   4   before this Court. I am an associate in the law firm of Roxborough, Pomerance, Nye
   5   & Adreani, LLP (“RPNA”), and represent Defendant and Counterclaimant First Rate
   6   Staffing Corporation in this action through that law firm. I am familiar with this
   7   action and have personal knowledge of the facts stated herein and if called to do so, I
   8   can and will competently testify to the following.
   9         1.     Attached as Exhibit A is a true and correct copy of Zurich’s workers’
  10   compensation and employers liability insurance policy section addressing the
  11   premium determination. The policy provision referenced in the ex parte application
  12   has been underlined.
  13         2.     Attached as Exhibit B is a true and correct copy of Zurich’s audit
  14   adjustment of premium invoice for the 2014 policy. The schedule modification and
  15   related premium increase has been underlined.
  16         3.     Attached as Exhibit C is a true and correct copy of the schedule rating
  17   information page from Zurich’s schedule rating rate filing applicable to First Rate’s
  18   three policies with Zurich.
  19         4.     Attached as Exhibit D is a true and correct copy of Zurich’s audit
  20   adjustment of premium invoice for the 2012 policy. The schedule modification and
  21   related premium increase has been underlined.
  22         5.     Attached as Exhibit E is a true and correct copy of Zurich’s audit
  23   adjustment of premium invoice for the 2013 policy. The schedule modification and
  24   related premium increase has been underlined.
  25         6.     Attached as Exhibit F is a true and correct copy of the caption page and
  26   pages 162 to 167 of the transcript from the deposition of James Buck. Sections
  27   referenced in the ex parte application have been underlined.
  28
                                            2
                        SUPPORTING DECLARATION OF DAVID R. GINSBURG
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 3 of 104 Page ID #:197




   1            7.    Attached as Exhibit G is a true and correct copy of pages 153 and 167 of
   2   the transcript from the deposition of James Buck.
   3            8.    Attached as Exhibit H is a true and correct copy of pages 165 to 167 of
   4   the transcript from the deposition of James Buck.
   5            9.    Attached as Exhibit I is a true and correct copy of a schedule rating
   6   worksheet for First Rate’s 2013 policy which shows a 5% schedule modification
   7   debit.
   8            10.   Attached as Exhibit J is a true and correct copy of pages 171 to 172 of
   9   the transcript from the deposition of James Buck.
  10            11.   Attached as Exhibit K is a true and correct copy of a schedule rating
  11   worksheet which shows a 50% schedule modification debit which Zurich claims
  12   applies to First Rate’s 2013 policy.
  13            12.   Attached as Exhibit L is a true and correct copy of pages 173 to 176 of
  14   the transcript from the deposition of James Buck.
  15            13.   Attached as Exhibit M is a true and correct copy of pages 179 to 180 of
  16   the transcript from the deposition of James Buck.
  17            14.   Attached as Exhibit N is a true and correct copy of Zurich’s California
  18   schedule rating worksheet for First Rate’s 2012 policy.
  19            15.   Attached as Exhibit O is a true and correct copy of pages 41 to 42 of the
  20   transcript from the deposition of James Buck.
  21            16.   Attached as Exhibit P is a true and correct copy of pages from a Zurich
  22   rate filing addressing the placement of insureds in a Zurich insurance company.
  23            17.   Attached as Exhibit Q is a true and correct copy of pages 192 to 193 of
  24   the transcript from the deposition of James Buck.
  25            18.   Attached as Exhibit R is a true and correct copy of pages from a Zurich
  26   rate filing showing the rates for the most expensive and next most expensive Zurich
  27   insurance companies.
  28
                                              3
                          SUPPORTING DECLARATION OF DAVID R. GINSBURG
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 4 of 104 Page ID #:198




   1         19.    Attached as Exhibit S is a true and correct copy of pages 26-30, 38-42,
   2   44, 46-47, 51-52, 65-66, 152, 156-158, 161-162, 180, and 192-193 of the transcript
   3   from the deposition of James Buck.
   4
   5         I declare under penalty of perjury under the laws of the United States of
   6   America that the foregoing is true and correct.
   7
   8   Dated: April 6, 2018                         s/David Ginsburg
   9                                                David Ginsburg

  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                            4
                        SUPPORTING DECLARATION OF DAVID R. GINSBURG
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 5 of 104 Page ID #:199




                    EXHIBIT A
 Case
   Case
      2:17-cv-04864-CAS-KS
         2:17-cv-04864-PJW Document
                             Document1-1
                                       32-2Filed
                                              Filed
                                                  07/01/17
                                                    04/06/18Page
                                                              Page
                                                                 176of
                                                                    of45
                                                                       104Page
                                                                           PageIDID
                                                                                  #:23
                                                                                    #:200
                       AND EMPLOYERS LIABILITY INSURANCE  POLICY               wc0000008
WORKERS COMPENSATION
                                                                                                                                  (Ed. 7-11)




     papers related to the injury, claim, proceeding or suit'                 D.    Premium PaYnents
     4. Cooperate with us and assist us, as we may re-                              You will pay all premium when due. You will pay the
        quest, in the investigation, settlement or defense                          premium even if part or all of a workers compensa-
        of any claim, Proceeding or suit.                                           tion law is not valid.
     5. Do nothing after an injury occurs that would inter-                   E.    FinalPremium
        fere with our right to recover f rom others.
     6. Do not voluntarily make payments, assume      obli-                         The premium shown on the lnformation Page,
         gations or incur expenses, except at your own                              schedules, and endorsements is an estimate. The fi-
        cost.                                                                       nal premium will be determined after this policy ends
                                                                                    by using the actual, not the estimated, premium ba-
                                                                                    sis andihe proper classif ications and rates that law-
                          PART FIVE_PREMIUM                                         f ully apply tb the business and work covered by this
                                                                                     potlcy. it ifre tinat premium is more than the premium
A.   Our Manuals                                                                    you paid to us, you must pay us the balance. lf it is
                                                                                     'less,'*e
     All premium for this policy will be determined by our                                     will refund the balance to you. The {inal
     manuals of rules, rates, rating plans and classifica-                           premium will not be less than the highest minimum
     tions. We may change our manuals and apply the                                  premium for the classifications covered by this pol-
     changes to this policy if authorized by law or a gov-                          icy.
     ernmental agency regulating this insurance.                                    lf this policy is canceled, f inal premium will be deter-
                                                                                    mined in thb following way unless our manuals pro-
B,   Classifications                                                                vide otherwise:
     Item 4 of the lnformation Page shows the rate and                              1. lf we cancel, f inal premium will be calculated pro
     premium basis for certain business or work classi{ica-                               rata based on the time this policy was in force'
     iions. These classif ications were assigned based on                                 Final premium will not be less than the pro rata
     an estimate of the exposures you would have during                                   share of the minimum Premium.
     the policy period. lf your actualexposures are not                             2. lf you cancel, f inal premium will be more than
      properly'dbscribed by those classif ications, we will                               prb rata; it will be based on the time this policy
     issign proper classif ications, rates and premium ba-                                was in force, and increased by our short-rate
     srs by endorsement to this PolicY.                                                   cancelation table and procedure' Final premium
                                                                                          will not be less than the minimum premium'
C.   Remuneration
     Premium for each work classif ication is determined by                    F.   Records
     multiplying a rate times a premium basis' Remunera-                            You will keep records of information needed to com-
     tion is ihe most common premium basis. This pre-                               pute premium. You will provide us with copies of
     mium basis includes payrolland all other remunera-                             those records when we ask for them.
     tion paid or payable during the policy period for the
      services   of   :
                                                                               G.    Audit
      1.   allyour officers and employees engaged in work                            You will let us examine and audit all your records
           covered by this PolicY; and
                                                                                     that relate to this policy. These records include ledg-
      2.   all other persons engaged in work that could                              ers, journals, registers, vouchers, contracts, tax re-
           make us liable under Part One (Workers Com-                               porti, payroll and disbursement records, and pro-
           pensation lnsurance) of this policy' lf you do not                        orams foi storinq and retrieving data. We may con-
           have payroll records for these persons, the con-                          duct the audits during regular business hours during
           tract price for therr services and materials may be                       the policy period and-within three years after the pol-
           used as the premium basis. This paragraph 2 will                           icy perioil ends. lnformation developed by audit will
           not apply if you give us proof that the employers                          b6 used to determine f inal premium' lnsurance rate
           of these-persons lawiully secured their workers                            service organizations have the same rights we have
           compensation obligations.                                                  under this Provision.




                                                                         5ofG
 @ copyright 2009 Nationai council on compensation lnsurance, lnc. All Rights Reserved
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 7 of 104 Page ID #:201




                    EXHIBIT B
       Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 8 of 104 Page ID #:202




                                                                                   0
                                                                           ZURICH
                                                                           AUDIT ADJUSTMENT
                                                                              OF PREMIUM

 POLICY NUMBER                         POLICY PERIOD                INSURANCE COMPANY
  WC   9491028      02           05/07/2014 to 05/07/2015           ZURICH AMERICAN ILLINOIS


  INSURED/MAILING ADDRESS                              PRODUCER -   93-962-000
 FIRST RATE STAFFING                                    ZP- WORLDWIDE
 CORPORATION                                            WORLD WIDE SPECIALTY PROGRAMS
 12150 BLOOMFIELD AVE STE B                             68 S SERVICE RD STE 235
 SANTA FE SPRINGS, CA 90670                             MELVILLE, NY 11747-2350

  FEIN 460708635

   CLASS
ST CODE CLASSIFICATION                                        EXPOSURE    RATE          PREMIUM

 REPLACES AUDIT DATED - 03/16/2017 - A/P $1,426,059
 CHANGES IN EXPOSURES AND CLASS CODES FOR AZ & CA

 FIRST RATE STAFFING,CORPORATION


AZ 3824   AUTOMOBILE, BUS, TRUCK OR TRAILER BODY MFG         1,257,572     4.48          56,339
   8018   STORE: WHOLESALE                                   1,197,860     3.95          47,315
   8292   STORAGE: WAREHOUSE NOC                               160,838     5.05           8,122
   8810   CLERICAL OFFICE EMPLOYEES                            117,391     0.29             340
   9812   INCREASED LIMITS                                    112,116)     1.10%          1,233
   9898   EXPERIENCE MODIFICATION                             113,349)    3.220         251,635
   0063   PREMIUM DISCOUNT FOR AZ                                                       -41,057
   9740   TERRORISM                                          2,733,661   0.0100             273
   9741   CATASTROPHE                                        2,733,661   0.0100             273
                                                             SUBTOTAL FOR AZ            324,473

CA 0096   NUT HULLING/SHELLING/PROCESS                         379,197    13.86          52,557
   2003   BAKERIES                                              72,865    16.21          11,811
   2111   CANNERY                                              658,198    12.63          83,130
   2222   HOSIERY MANUFACTURING                                  4,248    12.11             514
   2501   CLOTHING MANUFACTURING                               187,266    13.01          24,363
   3066   SHEET METAL WOR-SHOP AND ERECTION                      4,752    12.47             593
   3099   TOOL MANUFACTURING NOC                               155,230    10.17          15,787
   3165   AIR CONDITION/REFRIG EQUIP MFG                        27,596    10.70           2,953
   3178   ELECTRONIC ELEMENT MANUFACTURING                       5,298     6.27             332
   3372   ELECTROPLATING NPD                                    76,891    16.05          12,341
   3560   MACHINERY MANUFACTURING                               23,217     9.16           2,127
   3572   MEDICAL INSTRUMENT MANUFACTURING                       1,520     2.87              44
   3651   ELECTRICAL WIRE HARNESS MFG                        1,470,901     6.76          99,433
   3815   AUTOMOBILE BODY MANUFACTURING                        678,467    12.43          84,333
   4498   PLASTIC - INJECTION MOLDED                            43,657    14.35           6,265
      Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 9 of 104 Page ID #:203




                                                                                 8
                                                                         ZURICH

 POLICY NUMBER                                                               PAGE NUMBER
 WC   9491028     02                                                                  2

   CLASS
ST CODE CLASSIFICATION                                     EXPOSURE      RATE        PREMIUM

 FIRST RATE STAFFING,CORPORATION


CA 4557 INK, MUCILAGE OR POLISH MANUFACTURING                 4,125      8.40            347
   6504 FOOD SUNDRIES MANUFACTURING NOC                      15,730     15.34          2,413
   7360 FREIGHT HANDLING NOC                                 16,838     21.12          3,556
   8008 STORE: CLOTHING, APPAREL OR DRY                     302,894      7.44         22,535
        GOODS-RETAIL
  8015 STORES: FURNITURE-WHOLESALE OR RETAIL                 33,873     15.23          5,159
  8017 STORE: RETAIL - NOC                                   37,220      8.49          3,160
  8018 STORE: WHOLESALE                                   3,532,624     15.25        538,725
  8032 STORE: CLOTHING - WHOLESALE                           37,942     19.52          7,406
  8046 AUTOMOBILE ACCESSORY STORE RETAIL NOC                123,965     10.03         12,434
  8110 STORE-WELDING SUPPLIES                                 3,523      9.83            346
  8291 STORAGE WAREHOUSE - COLD                             234,998     13.95         32,782
  8292 STORAGE: WAREHOUSE NOC                               205,257     19.88         40,805
  8742 SALESPERSONS - OUTSIDE                                96,104      1.25          1,201
  8800 MAILING OR ADDRESSING CO.                            550,510      8.93         49,161
  8804 ALCOHOLIC AND DRUG RECOVERY HOMES - ALL               93,064     13.62         12,675
        EMPLOYEES
  8810 CLERICAL OFFICE EMPLOYEES                          3,128,803      0.99         30,975
  8829 NURSING HOME OPERATION                                 4,720     11.02            520
  9011 APARTMENT OPERATION NOC - NOT HOMEOWNERS             145,037     13.15         19,072
        ASSOC.
  9016 RACETRACK OPERATIONS                                  76,499     13.03          9,968
  9060 CLUB - COUNTRY & CLERICAL                             76,535     11.40          8,725
  9067 CLUBS-BOYS AND GIRLS-ALL EMPLOYEES                     5,349      6.70            358
  9079 RESTAURANT - NOC                                     623,465      9.11         56,798
  9812 INCREASED LIMITS                                  1,255,704)      2.80%        35,160
  9898 EXPERIENCE MODIFICATION                           1,290,864)     1.060         77,452
  9889 SCHEDULE DEBIT                                    1,368,316)   32.0000%       437,861
  0063 PREMIUM DISCOUNT FOR CA                                                      -203,186
  9740 TERRORISM                                         13,138,378    0.0300          3,942
  9741 CATASTROPHE                                       13,138,378    0.0100          1,314
                                                           SUBTOTAL FOR CA         1,608,247

                    TOTAL FOR FIRST RATE STAFFING,CORPORATION                      1,932,720
          Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 10 of 104 Page ID
                                             #:204




                                                                               9
                                                                       ZURICH

 POLICY NUMBER                                                           PAGE NUMBER
 WC   9491028         02                                                           3

   CLASS
ST CODE CLASSIFICATION                                    EXPOSURE    RATE       PREMIUM




AZ 0900   EXPENSE CONSTANT                                                             180

CA        CA   INSOLVENCY SURCHARGE                     1,608,247)   2.2500%       36,186
          CA   WC FRAUD SURCHARGE                       1,608,247)   0.2544%        4,091
          CA   WC USER FUND SURCHARGE                   1,608,247)   1.2247%       19,696
          CA   SUBSEQUENT INJURY BENEFITS TRUST FUND    1,608,247)   0.1291%        2,076
          CA   UNINSURED EMPLOYEE BENEFITS TRUST FUND   1,608,247)   0.1603%        2,578
          CA   OCCUPATIONAL SAFETY FUND ASSESSMENT      1,608,247)   0.2166%        3,483
          CA   LABOR ENFORCEMENT FUND ASSESSMENT        1,608,247)   0.2452%        3,943
      Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 11 of 104 Page ID
                                         #:205



                                                                           g
                                                                       ZURICH

BILLING ID# 1006676009
"THIS DOCUMENT DOES NOT REFLECT PAYMENT STATUS. AMOUNTS PAYABLE
DEPEND ON WHETHER DEPOSIT PREMIUM AND ENDORSEMENTS
WERE PAID IN FULL".


TOTAL WORKERS COMP PAYROLL              15,872,039




                                                  TOTAL EARNED PREMIUM            2,004,953
REVIEWED BY:CRYSTAL MOORE                         DEPOSIT PREMIUM                   771,783
PHONE: 847-240-8105                               ADDITIONAL DUE COMPANY          1,233,170
EMAIL: Crystal.Moore@Zurichna.com
                                                  PHY/CM /02         05/05/2017
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 12 of 104 Page ID
                                   #:206




                  EXHIBIT C
 Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 13 of 104 Page ID
                                    #:207
                                       Zurich North America
                            Workers Compensation And Employers Liability
                                    Schedule Rating Information
                                          Exception Page
                                             California

The premium for risk may be modified in accordance with the following, subject to a maximum modification of
+/-50%, to recognize such characteristics of the risk that are not reflected in its experience.
                                                                                          Range of Modification
                                                                                          Credit         Debit
A.    Premises                                                                             10%           10%
B.    Classification Peculiarities                                                         10%           10%
C.    Medical Facilities                                                                    5%            5%
D.    Safety Devices                                                                        5%            5%
E.    Employees – Selection, Training and Supervision                                      10%           10%
F.    Management
      Cooperation with insurer                                                              5%            5%
      Safety organization                                                                   5%            5%

            1 This plan is available to any insured that qualifies for experience rating in the following
              companies: Zurich American Insurance Company, American Zurich Insurance Company,
              American Guarantee & Liability Insurance Company, Zurich American Insurance Company of
              Illinois and Fidelity and Deposit Company of Maryland. This plan is available to any insured with
              no premium eligibility requirements in the following companies: Maryland Casualty Company,
              Assurance Company of America and Northern Insurance Company of New York.
            2 The amount of schedule credit or debit shall be applied to an experience rated risk in a
              multiplicative manner, after application of the experience modification, or any other adjustment
              factors (e.g. contractor credits, ARAP, Deductible credits) if any, but before the application of
              premium discounts and expense constants.
            3 This program is not applicable to residual market policyholders.
            4 All schedule debits and credits shall be based on evidence that is contained in the file of the
              insurer at the time the debits/credits are applied.
            5 The effective date of any schedule debit or credit shall not be any date prior to the receipt in the
              insurer’s office of evidence supporting the debit or credit.
            6 Zurich N.A. shall retain a copy of any written schedule rating notices mailed to an insured and a
              copy of any worksheets used to calculate any schedule rating adjustment. These documents shall
              remain in the carrier’s files related to that insured for not less than the period of the policy plus
              two additional years.
            7 Zurich N.A. may modify any individual premium adjustments made due to a schedule rating plan
              within sixty (60) days of a physical inspection of an insured’s premises. Zurich N.A. shall not
              increase any schedule debit or decrease any schedule credit by more than 5% unless it can prove
              that the insured misrepresented or omitted information that would have been pertinent in
              determining the appropriate schedule adjustment. Zurich shall allow an insured sixty (60) days
              from the revised billing statement date to pay any additional premium that may result from the
              addition of a debit or removal of a credit.
This document applies only to the companies listed:
Zurich American Insurance Company
American Zurich Insurance Company
American Guarantee and Liability Insurance Company
Zurich American Insurance Company of Illinois
Assurance Company of America
Maryland Casualty Company
Northern Insurance Company
Fidelity and Deposit Company of Maryland
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 14 of 104 Page ID
                                   #:208




                  EXHIBIT D
     Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 15 of 104 Page ID
                                        #:209




                                                                           AUDIT ADJUSTMENT
                                                                              OF PREMIUM

 POLICY NUMBER                         POLICY PERIOD              INSURANCE COMPANY
 WC   9491028       00           05/07/2012 to 05/07/2013         ZURICH AMERICAN


 INSURED/MAILING ADDRESS                               PRODUCER - 93-962-000
 FIRST RATE STAFFING, LLC                              ZP- WORLDWIDE
 12150 BLOOMFIELD AV., SUITE B                         WORLD WIDE SPECIALTY PROGRAMS
 SANTA FE SPRINGS, CA 90670                            68 S SERVICE RD STE 235
                                                       MELVILLE, NY 11747-2350

  FEIN 272210732

   CLASS
ST CODE CLASSIFICATION                                       EXPOSURE     RATE         PREMIUM

 FIRST RATE STAFFING, INC.


AZ 3824   AUTOMOBILE, BUS, TRUCK OR TRAILER BODY MFG          517,818      4.02         20,816
   8018   STORE: WHOLESALE                                    827,889      3.46         28,645
   9812   INCREASED LIMITS                             (      49,461)      2.00%           989
   9889   SCHEDULE DEBIT                               (      50,450)   10.0000%         5,045
   0063   PREMIUM DISCOUNT FOR AZ                                                       -5,498
   9740   TERRORISM                                         1,345,707    0.0100            135
   9741   CATASTROPHE                                       1,345,707    0.0100            135
                                                            SUBTOTAL FOR AZ             50,267

CA 2003   BAKERIES                                            186,215     9.93          18,491
   3651   ELECTRICAL WIRE HARNESS MFG                       1,431,281     4.82          68,988
   3815   AUTOMOBILE BODY MANUFACTURING                       182,661    10.54          19,252
   4557   INK, MUCILAGE OR POLISH MANUFACTURING               253,940     5.47          13,891
   8013   JEWELRY STORES                                       81,279     2.89           2,349
   8017   STORE: RETAIL - NOC                                 142,574     6.17           8,797
   8018   STORE: WHOLESALE                                  1,196,942    10.68         127,833
   8111   PLUMBERS' SUPPLIES DEALERS & DRIVERS                  1,824     8.69             159
   8291   STORAGE WAREHOUSE - COLD                            119,488    11.38          13,598
   8292   STORAGE: WAREHOUSE NOC                               13,794    17.18           2,370
   8293   FURNITURE MOVING & STORAGE, DRIVERS                     162    23.68              38
   8742   SALESPERSONS - OUTSIDE                               16,425     0.85             140
   8800   MAILING OR ADDRESSING CO.                            27,042     6.54           1,769
   8810   CLERICAL OFFICE EMPLOYEES                           802,494     0.76           6,099
   9009   BUILDING OPERATION - COMMERCIAL PROPERTIES           20,952     5.92           1,240
   9812   INCREASED LIMITS                             (     285,014)     2.80%          7,980
   9898   EXPERIENCE MODIFICATION                      (     292,994)    0.740         -76,178
   9889   SCHEDULE DEBIT                               (     216,816) 50.0000%         108,408
   0063   PREMIUM DISCOUNT FOR CA                                                      -32,213
     Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 16 of 104 Page ID
                                        #:210




 POLICY NUMBER                                                                     PAGE NUMBER
 WC   9491028         00                                                                     2

   CLASS
ST CODE CLASSIFICATION                                           EXPOSURE     RATE         PREMIUM

 FIRST RATE STAFFING, INC.


CA 9740   TERRORISM                                              4,477,073   0.0300          1,343
   9741   CATASTROPHE                                            4,477,073   0.0100            448
                                                                 SUBTOTAL FOR CA           294,802

                           TOTAL FOR FIRST RATE STAFFING, INC.                             345,069




AZ 0900   EXPENSE CONSTANT                                                                       180

CA        CA   INSOLVENCY SURCHARGE                        (     294,802)    2.2850%         6,736
          CA   WC FRAUD SURCHARGE                          (     294,802)    0.2648%           781
          CA   WC USER FUND SURCHARGE                      (     294,802)    0.9669%         2,850
          CA   SUBSEQUENT INJURY BENEFITS TRUST FUND       (     294,802)    0.1255%           370
          CA   UNINSURED EMPLOYEE BENEFITS TRUST FUND      (     294,802)    0.1362%           402
          CA   OCCUPATIONAL SAFETY FUND ASSESSMENT         (     294,802)    0.2350%           693
          CA   LABOR ENFORCEMENT FUND ASSESSMENT           (     294,802)    0.2380%           702
     Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 17 of 104 Page ID
                                        #:211




BILLING ID   1004391510




TOTAL WORKERS COMP PAYROLL              5,822,780




                                                 TOTAL EARNED PREMIUM            357,783
REVIEWED BY:CRYSTAL MOORE                        DEPOSIT PREMIUM                 343,406
PHONE: 847-240-8105                              ADDITIONAL DUE COMPANY           14,377
EMAIL: Crystal.Moore@Zurichna.com
                                                 PHY/CM /00         10/02/2013
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 18 of 104 Page ID
                                   #:212




                  EXHIBIT E
           Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 19 of 104 Page ID
                                              #:213




                                                                          AUDIT ADJUSTMENT
                                                                             OF PREMIUM

 POLICY NUMBER                         POLICY PERIOD              INSURANCE COMPANY
 WC   9491028       01           05/07/2013 to 05/07/2014         ZURICH AMERICAN ILLINOIS


 INSURED/MAILING ADDRESS                               PRODUCER - 93-962-000
 FIRST RATE STAFFING                                   ZP-WW-TEMP-WORLDWIDE
 CORPORATION                                           WORLD WIDE SPECIALTY PROGRAMS
 12150 BLOOMFIELD AVE STE B                            68 S SERVICE RD STE 235
 SANTA FE SPRINGS, CA 90670                            MELVILLE, NY 11747-2350

  FEIN 460708635

   CLASS
ST CODE CLASSIFICATION                                       EXPOSURE     RATE         PREMIUM
 REVISED - REPLACES AUDIT DATED 9/4/14 - AMOUNT $ 248,334
 ADDED CLASSES

 FIRST RATE STAFFING,CORPORATION


AZ 3824   AUTOMOBILE MFG                                      883,446     4.80          42,405
   8018   STORE-WHOLESALE                                   1,102,209     3.85          42,435
   8292   STORAGE: WAREHOUSE NOC                              159,373     4.54           7,236
   8810   CLERICAL OFFICE EMPLOYEES                           134,411     0.28             376
   9812   INCREASED LIMITS                             (      92,452)     1.10%          1,017
   9898   EXPERIENCE MODIFICATION                      (      93,469)    2.410         131,791
   0063   PREMIUM DISCOUNT FOR AZ                                                      -24,072
   9740   TERRORISM                                         2,279,439   0.0100             228
   9741   CATASTROPHE                                       2,279,439   0.0100             228
                                                            SUBTOTAL FOR AZ            201,644

CA 2003   BAKERIES                                            178,836    14.15          25,305
   2501   CLOTH, CANVAS                                       117,749    11.22          13,211
   3099   TOOL MANUFACTURING NOC                               91,387     9.65           8,819
   3178   ELECTRONIC ELEMENT MANUFACTURING                      4,581     6.46             296
   3372   DETINNING                                            12,169    13.76           1,674
   3560   MACHINERY MANUFACTURING                              13,576     9.63           1,307
   3651   ELECTRICAL WIRE HARNESS MFG                       1,427,761     6.60          94,232
   3815   AUTOMOBILE BODY MANUFACTURING                       157,350    13.47          21,195
   4498   PLASTIC - INJECTION MOLDED                           54,340    13.52           7,347
   4557   INK MFG                                              86,234     8.11           6,994
   7360   FREIGHT HANDLING NOC                                250,025    16.05          40,129
   8008   STORE: RETAIL                                        72,067     7.12           5,131
   8013   JEWELRY STORES                                       38,679     4.49           1,737
   8015   QUICK PRINTING                                        6,136    12.76             783
   8017   STORE: RETAIL                                        18,608     7.98           1,485
           Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 20 of 104 Page ID
                                              #:214




 POLICY NUMBER                                                                    PAGE NUMBER
 WC   9491028       01                                                                      2

   CLASS
ST CODE CLASSIFICATION                                          EXPOSURE     RATE         PREMIUM

 FIRST RATE STAFFING,CORPORATION


CA 8018   STORE-WHOLESALE                                      1,318,849    14.12         186,221
   8032   STORE: CLOTHING - WHOLESALE                              1,088    17.08             186
   8046   AUTOMOBILE ACCESSORY STORE RETAIL NOC                    8,964    10.15             910
   8291   STORAGE WAREHOUSE                                      286,522    14.06          40,285
   8292   STORAGE: WAREHOUSE NOC                                  11,144    19.96           2,224
   8742   SALESPERSONS - OUTSIDE                                  44,800     1.30             582
   8800   MAILING OR ADDRESSING CO.                              359,922     9.09          32,717
   8810   CLERICAL OFFICE EMPLOYEES                            1,148,834     0.98          11,259
   9011   APARTMENT OPERATION NOC - NOT HOMEOWNERS                78,846    13.50          10,644
          ASSOC.
  9016    AMUSEMENT PARK                                          14,217    11.37           1,616
  9050    HOTELS - ALL EMPLOYEES                                     563    17.31              97
  9060    CLUB - COUNTRY & CLERICAL                               29,342    11.28           3,310
  9079    RESTAURANT - NOC                                        82,426     7.96           6,561
  9812    INCREASED LIMITS                               (      526,257)     2.80%         14,735
  9898    EXPERIENCE MODIFICATION                        (      540,992)    0.790        -113,608
  9889    SCHEDULE DEBIT                                 (      427,384) 50.0000%         213,692
  0063    PREMIUM DISCOUNT FOR CA                                                         -68,514
  9740    TERRORISM                                            5,915,015   0.0300          1,775
  9741    CATASTROPHE                                          5,915,015   0.0100             592
                                                                SUBTOTAL FOR CA           574,929

                         TOTAL FOR FIRST RATE STAFFING,CORPORATION                        776,573




AZ 0900   EXPENSE CONSTANT                                                                      180
         Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 21 of 104 Page ID
                                            #:215




 POLICY NUMBER                                                          PAGE NUMBER
 WC   9491028       01                                                            3

   CLASS
ST CODE CLASSIFICATION                                    EXPOSURE    RATE      PREMIUM

CA      CA   INSOLVENCY SURCHARGE                     (   574,929)   2.0000%      11,499
        CA   WC FRAUD SURCHARGE                       (   574,929)   0.3881%       2,231
        CA   WC USER FUND SURCHARGE                   (   574,929)   1.3704%       7,879
        CA   SUBSEQUENT INJURY BENEFITS TRUST FUND    (   574,929)   0.1707%         981
        CA   UNINSURED EMPLOYEE BENEFITS TRUST FUND   (   574,929)   0.3410%       1,961
        CA   OCCUPATIONAL SAFETY FUND ASSESSMENT      (   574,929)   0.2859%       1,644
        CA   LABOR ENFORCEMENT FUND ASSESSMENT        (   574,929)   0.2747%       1,579
        Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 22 of 104 Page ID
                                           #:216




BILLING ID # 1005196322




TOTAL WORKERS COMP PAYROLL              8,194,454




                                                 TOTAL EARNED PREMIUM            804,527
REVIEWED BY:KAREN CALMEYN                        DEPOSIT PREMIUM                 502,551
PHONE: 847-240-8152                              ADDITIONAL DUE COMPANY          301,976
EMAIL: Karen.Calmeyn@ZurichNA.com
                                                 PHY/KC /01         02/05/2015
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 23 of 104 Page ID
                                   #:217
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 24 of 104 Page ID
                                   #:218
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 25 of 104 Page ID
                                   #:219
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 26 of 104 Page ID
                                   #:220
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 27 of 104 Page ID
                                   #:221
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 28 of 104 Page ID
                                   #:222
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 29 of 104 Page ID
                                   #:223
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 30 of 104 Page ID
                                   #:224
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 31 of 104 Page ID
                                   #:225
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 32 of 104 Page ID
                                   #:226
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 33 of 104 Page ID
                                   #:227
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 34 of 104 Page ID
                                   #:228
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 35 of 104 Page ID
                                   #:229
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 36 of 104 Page ID
                                   #:230
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 37 of 104 Page ID
                                   #:231
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 38 of 104 Page ID
                                   #:232
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 39 of 104 Page ID
                                   #:233
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 40 of 104 Page ID
                                   #:234
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 41 of 104 Page ID
                                   #:235
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 42 of 104 Page ID
                                   #:236
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 43 of 104 Page ID
                                   #:237
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 44 of 104 Page ID
                                   #:238
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 45 of 104 Page ID
                                   #:239
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 46 of 104 Page ID
                                   #:240
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 47 of 104 Page ID
                                   #:241
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 48 of 104 Page ID
                                   #:242
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 49 of 104 Page ID
                                   #:243
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 50 of 104 Page ID
                                   #:244
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 51 of 104 Page ID
                                   #:245
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 52 of 104 Page ID
                                   #:246
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 53 of 104 Page ID
                                   #:247
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 54 of 104 Page ID
                                   #:248
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 55 of 104 Page ID
                                   #:249
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 56 of 104 Page ID
                                   #:250
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 57 of 104 Page ID
                                   #:251
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 58 of 104 Page ID
                                   #:252
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 59 of 104 Page ID
                                   #:253
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 60 of 104 Page ID
                                   #:254
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 61 of 104 Page ID
                                   #:255
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 62 of 104 Page ID
                                   #:256
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 63 of 104 Page ID
                                   #:257
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 64 of 104 Page ID
                                   #:258
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 65 of 104 Page ID
                                   #:259
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 66 of 104 Page ID
                                   #:260
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 67 of 104 Page ID
                                   #:261
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 68 of 104 Page ID
                                   #:262
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 69 of 104 Page ID
                                   #:263
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 70 of 104 Page ID
                                   #:264
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 71 of 104 Page ID
                                   #:265
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 72 of 104 Page ID
                                   #:266
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 73 of 104 Page ID
                                   #:267
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 74 of 104 Page ID
                                   #:268
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 75 of 104 Page ID
                                   #:269
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 76 of 104 Page ID
                                   #:270
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 77 of 104 Page ID
                                   #:271
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 78 of 104 Page ID
                                   #:272
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 79 of 104 Page ID
                                   #:273
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 80 of 104 Page ID
                                   #:274
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 81 of 104 Page ID
                                   #:275
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 82 of 104 Page ID
                                   #:276
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 83 of 104 Page ID
                                   #:277
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 84 of 104 Page ID
                                   #:278
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 85 of 104 Page ID
                                   #:279
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 86 of 104 Page ID
                                   #:280
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 87 of 104 Page ID
                                   #:281
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 88 of 104 Page ID
                                   #:282
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 89 of 104 Page ID
                                   #:283
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 90 of 104 Page ID
                                   #:284
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 91 of 104 Page ID
                                   #:285
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 92 of 104 Page ID
                                   #:286
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 93 of 104 Page ID
                                   #:287
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 94 of 104 Page ID
                                   #:288
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 95 of 104 Page ID
                                   #:289
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 96 of 104 Page ID
                                   #:290
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 97 of 104 Page ID
                                   #:291
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 98 of 104 Page ID
                                   #:292
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 99 of 104 Page ID
                                   #:293
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 100 of 104 Page ID
                                    #:294
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 101 of 104 Page ID
                                    #:295
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 102 of 104 Page ID
                                    #:296
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 103 of 104 Page ID
                                    #:297
Case 2:17-cv-04864-CAS-KS Document 32-2 Filed 04/06/18 Page 104 of 104 Page ID
                                    #:298
